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                     13

                     14                         UNITED STATES DISTRICT COURT
                     15                        CENTRAL DISTRICT OF CALIFORNIA
                     16

                     17   UNITED STATES OF AMERICA ex.              Case No. 2:17-cv-04393-RGK-KS
                          rel. ISLAND INDUSTRIES, INC.,
                     18                                             VANDEWATER INTERNATIONAL, INC.
                                           Plaintiff,               AND NEIL RUEBENS’ NOTICE OF
                     19                                             MOTION AND MOTION FOR
                                 v.                                 SUMMARY JUDGMENT;
                     20                                             MEMORANDUM OF POINTS AND
                          VANDEWATER INTERNATIONAL,                 AUTHORITIES IN SUPPORT OF
                     21   INC., et al.,                             MOTION FOR SUMMARY JUDGMENT
                     22                    Defendant(s).            Judge:          Hon. R. Gary Klausner
                                                                    Hearing Date:   May 18, 2020
                     23                                             Courtroom:      850
                                                                    Time:           9:00 a.m.
                     24
                                                                    [All Documents Filed Concurrently
                     25                                             Herewith are the Notice of Motion;
                                                                    Motion for Summary Judgment;
                     26                                             Separate Statement of Undisputed
                                                                    Facts and Law; Declarations of Neil
                     27                                             Ruebens, Walter Sperko and Ryan
                                                                    Salzman; and [Proposed] Order]
                     28
  FAEGRE DRINKER
                          VANDEWATER AND NEIL RUEBENS’ NOTICE OF
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  ATTORNEYS AT LAW
    LOS ANGELES
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                      1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
                      2   RECORD:
                      3          PLEASE TAKE NOTICE THAT on May 18, 2020 at 9:00 a.m., or as soon
                      4   thereafter as the matter may be heard in Courtroom 850 of the above-entitled Court,
                      5   Defendants Vandewater International, Inc. and Neil Ruebens (the “Vandewater
                      6   Defendants”) will and hereby do respectfully move the Court for summary
                      7   judgment pursuant to Federal Rule of Civil Procedure 56 in favor of the
                      8   Vandewater Defendants and against Plaintiff United States of America ex. rel.
                      9   Island Industries, Inc. (“Plaintiff”), as to all causes of action alleged against the
                     10   Vandewater Defendants in Plaintiff’s First Amended Complaint (“Complaint” or
                     11   “FAC”) and the Complaint as a whole. More specifically, the Vandewater
                     12   Defendants move for summary judgment as to Plaintiff’s Complaint and the sole
                     13   remaining cause of action alleged therein for violation of the False Claims Act, 31
                     14   U.S.C. § 3729(a)(1)(G) (the “FCA”), as there is no proof, and thus no triable issue,
                     15   that the Vandewater Defendants (1) made a false statement or engaged in a
                     16   fraudulent course of conduct, (2) with requisite scienter, (3) that was material, and
                     17   (4) deprived the government of money owed, in violation of the FCA.
                     18          This Motion is based upon this Notice, the concurrently filed Memorandum
                     19   of Points and Authorities, Proposed Statement of Uncontroverted Facts and
                     20   Conclusions of Law, the Declarations of Neil Ruebens (“Ruebens Decl.”), Ryan M.
                     21   Salzman (“Salzman Decl.”), and Walter Sperko (“Sperko Decl.”) and exhibits
                     22   thereto, [Proposed] Order, and the pleadings and papers on file in this action, and
                     23   on such other and further matters as may be presented at or before the hearing on
                     24   this matter.
                     25   ///
                     26   ///
                     27   ///
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                      1          This motion is made following the conference of counsel pursuant to Local
                      2   Rule 7-3, which took place on April 1, 2020.
                      3

                      4   Dated: April 8, 2020                      FAEGRE DRINKER BIDDLE & REATH LLP
                      5

                      6                                             By: /s/ Ryan M. Salzman
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                      7                                                 Thomas Kelly (pro hac vice)
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                      8                                                 Joie Hand (pro hac vice)
                      9                                             Attorneys for Defendants VANDEWATER
                                                                    INTERNATIONAL, INC. and NEIL
                     10                                             RUEBENS
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                      1   I.     INTRODUCTION
                      2          The Vandewater Defendants move for summary judgment because Plaintiff
                      3   has not proven, and cannot prove, the allegations contained in the First Amended
                      4   Complaint (“FAC”). ECF 97. The question squarely before the Court is this:
                      5          Where importers declare their products duty-free based on an
                      6          interpretation of a Department of Commerce duty order that is (at the
                      7          very least) objectively reasonable, and where there is no evidence that
                      8          anyone—not a government entity nor any private person—had ever
                      9          voiced a contrary interpretation, can the importers’ declaration be the
                     10          basis for False Claims Act liability?
                     11   Clearly not. Even with the benefit of full discovery, including pre-litigation
                     12   investigation, the best Plaintiff can do is cast aspersion and aver that Defendants
                     13   should have anticipated and acceded to Plaintiff’s nakedly self-serving view of the
                     14   law. This is not remotely enough to merit a trial jury’s consideration. Summary
                     15   judgment for Defendants should issue.
                     16   II.    BACKGROUND
                     17          A.     Vandewater’s Importation of Welded Outlets
                     18          Vandewater is a four-employee importing business, wholly owned by Neil
                     19   Ruebens, which has supplied U.S. customers with various products, including steel
                     20   pipes and pipe fittings used in fire protection systems. Statement of Undisputed
                     21   Material Facts (“SUF”) 4. One type of fire-protection pipe fitting imported by
                     22   Vandewater is the “welded outlet.” A welded outlet is affixed by weld to the side of a
                     23   “header” pipe in order to accommodate outflow from an opening made in that pipe.
                     24   SUF 14. The end of the welded outlet affixed to the header is contoured like a saddle,
                     25   so that it can fit the curvature of the header pipe and be welded to the header in a
                     26   “corner joint.” SUF 15. The other end of a welded outlet may be machine-threaded or
                     27   grooved, so as to be connected to the next piece in the fire protection system by
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                      1   means other than welding. SUF 16. Vandewater has only imported threaded welded
                      2   outlets (which it has referred to as “threaded outlets,” “pipe outlets,” or “POL”) and
                      3   grooved welded outlets (referred to as “grooved outlets” or “GOL”). SUF 5, 6.
                      4          To be precise, Vandewater began importing threaded outlets from China in or
                      5   about 2003. SUF 5. In or about 2013, Vandewater expanded its product line and
                      6   began importing grooved outlets, also from China. SUF 6. Prior to 2013, Vandewater
                      7   had purchased grooved outlets from Plaintiff, a domestic pipe fittings manufacturer,
                      8   for resale to Vandewater customers. SUF 7.
                      9          As detailed below, before Vandewater began importing welded outlets, Neil
                     10   Ruebens consulted two resources whom he trusted regarding the relevant importation
                     11   rules: an import broker with whom he had worked in the past, and two Customs and
                     12   Border Protection (“CBP”) pipe fittings import specialists. SUF 8–10. None of these
                     13   people indicated that welded outlets were subject to antidumping duties. SUF 12.
                     14   When Vandewater began importing welded outlets and warehousing them in Georgia,
                     15   it used Atlanta-based brokers with the firm American Cargo Express (“ACE”) to
                     16   provide importation guidance and prepare product entry paperwork. SUF 11. ACE
                     17   made no mention of antidumping duties either. SUF 12.
                     18          B.     Plaintiff’s Allegations
                     19          It is Plaintiff, by its initial complaint in this action, that first raised the notion
                     20   that welded outlets imported from China were subject to antidumping duties. Plaintiff
                     21   contends that these products fall within the scope of an antidumping duty (“ADD”)
                     22   order for “Certain Carbon Steel Butt-weld Pipe Fittings from the People’s Republic
                     23   of China,” which was promulgated by the Department of Commerce (“Commerce”)
                     24   on July 6, 1992. 57 Fed. Reg. 29629 (hereinafter, the “China Order”). SUF 19.
                     25          The key term referenced in the China Order, “butt-weld pipe fittings,” has a
                     26   recognized meaning in the piping industry. Butt-weld pipe fittings “get their name
                     27   from the fact that all the ends of these fittings are made to be butted together with pipe
                     28   or other buttwelding fittings and welded together to form a permanent joint,”
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                      1   commonly known as a “butt joint.” SUF 14. Butt-weld pipe fittings are thus
                      2   materially different from welded outlets: “Unlike the ends of butt weld fittings, all of
                      3   which are made to butt up against the end of a pipe or another butt weld fitting, one
                      4   end of outlet fittings is contoured so that it sets on the outside surface of another pipe
                      5   rather than butting up against the end of that pipe.” SUF 14–17. The differences in
                      6   form correspond to differences in function and use. Welded outlets are used where it
                      7   is not necessarily known in advance of installation precisely where an outlet is needed
                      8   (as they can accommodate outflow from a hole cut in the side of a header pipe). SUF
                      9   14–17. As typically it is not welded, the outlet end opposite the header pipe can be
                     10   much more easily detached from and reattached to another piece of pipe. SUF 14–
                     11   17. Accordingly, welded outlets may be used for “non-permanent connections,”
                     12   where pipe connections may need to be “disassembled and reassembled with
                     13   relative ease” (like in fire protection systems, where sprinkler heads or other parts
                     14   degrade and may need to be replaced). SUF 14–17. By contrast, butt-weld pipe
                     15   fittings are ideal for higher-pressure or higher-temperature applications, or where
                     16   the fluid being carried is dangerous; in such applications, the overriding concern is
                     17   preventing leakage, and therefore more leak-proof “permanent welded connections”
                     18   are favored over threaded, grooved, or other non-permanent connections. SUF 14.
                     19          Plaintiff contends, nevertheless, that the term “butt-weld pipe fittings” in the
                     20   China Order encompasses welded outlets. It argues that Commerce had construed a
                     21   different ADD order, for “Certain Carbon Steel Butt-weld Pipe Fittings from
                     22   Taiwan,” 51 Fed. Reg. 45101 (Dec. 17, 1986) (the “Taiwan Order”) (SUF 18), to
                     23   extend to welded outlets in a “scope ruling” issued to a company named Sprink, Inc.
                     24   on March 25, 1992. ECF 97-2 (hereinafter, the “Sprink Ruling”).1 However,
                     25   Plaintiff never explains why the Sprink Ruling should be deemed precedential with
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                           A “scope ruling” is a determination made by Commerce, subject to review by the
                          U.S. Court of International Trade, “as to whether a particular type of merchandise is
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                          within the class or kind of merchandise described in an existing finding of dumping
                          or antidumping or countervailing duty order.” 19 U.S.C. § 1516a(a)(2).
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                      1   respect to the (subsequently enacted) China Order, particularly given the
                      2   differences in language between the Taiwan Order and the China Order. Most
                      3   notably, the China Order contains narrowing language that the Taiwan Order does
                      4   not, specifying that antidumping duties are only imposed on:
                      5          formed or forged pipe fittings [] used to join sections in piping systems
                      6          where conditions require permanent, welded connections, as
                      7          distinguished from fittings based on other fastening methods (e.g.,
                      8          threaded, grooved, or bolted fittings).
                      9   Compare China Order with Taiwan Order. SUF 20.
                     10          Citing the “language unique to the China Butt-Weld Order,” when Commerce
                     11   ruled on Vandewater’s own scope ruling request (long after Plaintiff filed its initial
                     12   sealed complaint in this case), Commerce noted that “we are not bound by the
                     13   agency’s analysis in the Sprink Scope Ruling[.]” SUF 21. On September 10, 2018,
                     14   though concluding that the China Order’s “scope language is ambiguous,” Commerce
                     15   determined that Vandewater’s welded outlets were within the scope of the order. SUF
                     16   23. On September 12, 2018, Vandewater filed a complaint before the Court of
                     17   International Trade (the “CIT”) contesting Commerce’s ruling; this litigation
                     18   remains pending. SUF 24.
                     19   III.   LEGAL STANDARD
                     20          Summary judgment should be granted when there is no genuine issue of
                     21   material fact and the moving party is entitled to judgment as a matter of law. Fed.
                     22   R. Civ. P. 56. For there to be a “genuine issue” of material fact, there must be
                     23   sufficient evidence in favor of the non-moving party to allow a jury to return a
                     24   verdict in its favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A
                     25   fact is “material” when its resolution might affect the outcome of the suit under the
                     26   governing law. Id. A party’s failure to establish necessary elements of its case, for
                     27   which it bears the burden of proof, is reason to grant summary judgment. See
                     28   Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986).
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                      1   IV.    ARGUMENT
                      2          The FAC alleges that the Vandewater Defendants violated the “reverse false
                      3   claims” provision of the False Claims Act, 31 U.S.C. § 3729(a)(1)(G) (the “FCA”).
                      4   FAC ¶¶ 77–85 (ECF 97). To prove this claim, Plaintiff must establish that the
                      5   Vandewater Defendants (1) made a false statement or engaged in a fraudulent
                      6   course of conduct, (2) with requisite scienter, (3) that was material, and (4)
                      7   deprived the government of money owed. U.S. ex rel. Lee v. Corinthian Colleges,
                      8   655 F.3d 984, 992 (9th Cir. 2011); U.S. ex rel. Cafasso v. Gen. Dynamics C4 Sys.,
                      9   Inc., 637 F.3d 1047, 1056 (9th Cir. 2011).
                     10          Plaintiff has failed to elicit evidence to make its case. Accordingly, the Court
                     11   should grant the Vandewater Defendants’ motion for summary judgment.
                     12          A.     There is No False Statement upon which a Reverse False Claims
                     13                 Act Claim can be Based.
                     14          “An actual false claim is the sine qua non of an FCA violation.” Cafasso, 637
                     15   F.3d at 1055. To avoid summary judgment, Plaintiff needs to present sufficient
                     16   evidence to convince a reasonable fact-finder that the Vandewater Defendants
                     17   “knew of facts conclusively establishing” that submissions to CBP were false. See
                     18   U.S. ex rel. Yannacopoulos v. Gen. Dynamics, 652 F.3d 818, 833 (7th Cir. 2011).
                     19   The statements to the government need to be an “objective falsehood” to qualify as
                     20   false for purposes of the FCA. Id. at 836 (citing U.S. ex rel. Wilson v. Kellogg
                     21   Brown & Root, Inc., 525 F.3d 370, 376 (4th Cir. 2008)). Further, it must be
                     22   established that the Vandewater Defendants intended false statements to be material
                     23   to the government. See Allison Engine Co., Inc. v. U.S. ex rel. Sanders, 553 U.S.
                     24   662, 672 (2008) (to be liable, defendant must contemplate a “direct link” between
                     25   its false statement and a government decision). Finally, for a “reverse False Claims
                     26   Act” claim, the alleged false statement must pertain to an obligation “to pay or
                     27   transmit money or property to the Government.” U.S. ex rel. Simoneaux v. E.I.
                     28   duPont de Nemours & Co., 843 F.3d 1033, 1037 (5th Cir. 2016). “[I]n order to
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                      1   create liability, the obligation must be formally established at the time of the
                      2   improper conduct” alleged, not “dependent on a future discretionary act” by the
                      3   government, U.S. ex rel. Barrick v. Parker-Miglioirini Int’l, LLC, 878 F.3d 1224,
                      4   1232 (10th Cir. 2017), like a scope ruling.
                      5          The alleged false statements by Defendants at the heart of this case are their
                      6   declarations on customs entry forms that welded outlets imported from China are
                      7   duty-free, FAC ¶¶ 3–4 (ECF 97); 2 and the alleged obligations to pay to which these
                      8   statements pertain are the antidumping duties purportedly imposed on these
                      9   products by the China Order. The China Order itself does not mention “welded
                     10   outlets.” See 57 Fed. Reg. 29629. Thus, both sets of allegations hinge on Plaintiff’s
                     11   proposition that welded outlets fall within the term “butt-weld pipe fittings,” as used
                     12   in the China Order. This is an incorrect reading of the order, for two main reasons.
                     13          First, where, as here, the key term in an antidumping duty order is broad and
                     14   reasonably subject to interpretation, it must be construed in light of industry
                     15   understandings of the term, including certification standards. See Atkore Steel
                     16   Components, Inc. v. United States, 313 F. Supp. 3d 1374, 1384 (Ct. Int’l Trade,
                     17   May 15, 2018)(industry standards “cannot be ignored;” Commerce errs when it
                     18   does so); ArcelorMittal Stainless Belgium N.V. v. United States, 694 F.3d 82, 88
                     19   (Fed. Cir. 2012) (“[A]ntidumping orders should not be interpreted in a vacuum
                     20   devoid of any consideration of the way the language of the order is used in the
                     21   relevant industry.”). Indeed, the whole point of an ADD order is to put industry “on
                     22   notice of what merchandise is subject to duties,” so “[c]ourts have long recognized
                     23   the importance of considering context, including industry custom, in interpreting
                     24   written language” within an order. ArcelorMittal, 694 F.3d at 88. In this case, the
                     25   trade usage and industry standards are undisputed. As Defendants’ proffered
                     26   2
                           Plaintiff makes a fleeting allegation that Vandewater falsely described its welded
                     27
                          outlets on certain customs entry forms as “adaptors.” FAC ¶ 36(e) (ECF 97). At his
                          deposition, Plaintiff’s president conceded that this is no false statement at all: as an
                     28
                          engineering matter, a welded outlet is a type of adapter. SUF 34. Neil Ruebens
                          confirms that in the piping industry, “‘[a]dapters’ is a common term.” SUF 34.
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                      1   engineering and materials science expert, Walter Sperko, explained, for a host of
                      2   reasons ranging from the physical attributes of the products to their uses and
                      3   functions to the standards of design that govern them, welded outlets and butt-weld
                      4   pipe fittings are simply regarded as separate and distinct products. SUF 14–17.
                      5   Plaintiff could produce no expert to opine otherwise. The fact- and science-based
                      6   industry consensus as to what a butt-weld pipe fitting is—and what it is not—strongly
                      7   indicates that the term is properly construed to exclude welded outlets.
                      8          Second, the words that Commerce used in drafting the China Order matter.
                      9   The distinct language of the China Order cannot cavalierly be read as surplusage.
                     10   Eckstrom Indus., Inc. v. United States, 254 F.3d 1068, 1073 (Fed. Cir.
                     11   2001)(rejecting “the Government’s interpretation” that “renders… language mere
                     12   surplusage”); Polites v. United States, 755 F.Supp.2d 1352, 1357 (Ct. Int’l Trade
                     13   2011)(“While Commerce has latitude in interpreting [duty orders], it may not
                     14   render parts of the Order ‘mere surplusage.’”)(citations omitted). When it
                     15   promulgated the China Order in July 1992, Commerce must be presumed to have
                     16   been aware of the Taiwan Order, and of the Sprink Ruling that expounded upon it.
                     17   It is only fair to conclude that Commerce’s decision to use different language in the
                     18   China Order—which Commerce itself conceded was “unique” and meaningful
                     19   enough to preclude giving the Sprink Ruling precedential effect, Salzman Decl. ¶ 2,
                     20   Ex. 1 at 11—reflected an intent on behalf of the drafters of the China Order to
                     21   capture a different universe of products.3 See Polites, 755 F.Supp.2d at 1357. And
                     22   the “unique language” of the China Order speaks directly to the products at issue in
                     23   this case—for it excludes from the order’s coverage “fittings based on…fastening
                     24   methods [such as] thread[s and] groove[s]” as might be used where conditions do
                     25   not “require permanent, welded connections” between piping system components.
                     26   See China Order. Defendants’ products fit within this exclusion.
                     27
                          3
                     28
                           Plaintiff offers no explanation or evidence to rebut the presumption against
                          deeming ADD order language surplusage. Polites, 755 F.Supp.2d at 1357.
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                      1          Accordingly, Plaintiff fails in establishing the most basic elements of a
                      2   reverse False Claims Act claim. There are no false statements, and there is no
                      3   overarching obligation to pay antidumping duties on Vandewater’s welded outlets.
                      4          B.     Plaintiff Cannot Prove Scienter.
                      5          A party cannot violate the False Claims Act without “knowingly” making a
                      6   false statement. See 31 U.S.C. § 3729(a)(1). To act “knowingly” under the FCA, a
                      7   person must have “actual knowledge of the information” in question, act in
                      8   “deliberate ignorance” of the truth, or act with “reckless disregard” of the truth or
                      9   falsity of the information. 31 U.S.C. § 3729(b)(1)(A); see also U.S. ex rel. Williams
                     10   v. Renal Care Grp., Inc., 696 F.3d 518, 530 (6th Cir. 2012). The FCA’s scienter
                     11   requirement is “rigorous.” United States v. United Healthcare Ins. Co., 848 F.3d
                     12   1161, 1176 (9th Cir. 2016 ); accord Yannacopoulos, 652 F.3d at 832 (the FCA is
                     13   meant to penalize statements made with knowing falsity, not all factually inaccurate
                     14   statements). Even if antidumping duties applied, Plaintiff adduces insufficient
                     15   evidence to convince a reasonable fact-finder that the Vandewater Defendants
                     16   knew, believed, or were put on notice that their welded outlets were subject to such
                     17   duties. As such, the Court should grant summary judgment.
                     18          Indeed, the Vandewater Defendants have never believed, and still do not
                     19   believe, that their welded outlets fall under the scope of the China Order. Neil
                     20   Ruebens learned about “the anti-dumping duty order for butt-weld pipe fittings
                     21   from China” in the early 1990s, during or soon after his time as a marketing
                     22   employee at Hitachi Metals. SUF 13. Nonetheless, it is clear that Mr. Ruebens
                     23   never perceived this order to apply to welded outlets. SUF 13 (Salzman Decl. ¶ 5,
                     24   Ex. 4 at 124:8–9 (“[W]e were never affected by an antidumping duty order.”). This
                     25   is because Mr. Ruebens, like virtually everyone else in his industry, perceived butt-
                     26   weld pipe fittings and welded outlets to be entirely distinct products. See SUF 13–
                     27   17; Sperko Expert Report at 3–13; Ruebens Decl. ¶ 7, Attachment 1 (email
                     28   correspondence with the American Society of Mechanical Engineers). This is a view
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                      1   that Mr. Ruebens holds in good faith to this day, see Salzman Decl. ¶ 5, Ex. 4 at
                      2   270:19 –274:13 (detailing the differences between the two products), and this is
                      3   part of what informs the arguments that Vandewater and its counsel are making
                      4   before the CIT. SUF 13.
                      5                 1.     There Is No Evidence that Anyone, Prior to Plaintiff’s
                      6                        Lawsuit, Ever Propounded the View that Chinese Welded
                      7                        Outlets Were Subject to Antidumping Duties.
                      8          As discussed above, the China Order itself does not mention “welded
                      9   outlets;” nor does it incorporate the Sprink Ruling that brought welded outlets into
                     10   the scope of the Taiwan Order; nor does it mirror the language of the Taiwan Order
                     11   itself. Supra at 6–8. And neither CBP nor the Department of Commerce issued any
                     12   guidance bringing welded outlets within the scope of the China Order until
                     13   Commerce responded to Vandewater’s scope ruling request on September 10, 2018.
                     14   Salzman Decl. ¶ 2, Ex. 1. So, not surprisingly, neither the CBP specialists that
                     15   Vandewater reached out to before importing welded outlets nor the import brokers
                     16   that it retained ever indicated to Vandewater that welded outlets fell within the
                     17   ambit of the China Order. Infra at 13–15; SUF 12. Nor had any other importer, to
                     18   Neil Ruebens’ knowledge, regarded welded outlets imported from China as subject
                     19   to antidumping duties. SUF 13.
                     20          Plaintiff is perhaps one of only two entities in the industry that regard
                     21   Chinese welded outlets as subject to antidumping duties.4 Plaintiff’s officers
                     22   purport to have come to this view in mid-2016, following Internet research and
                     23   conversations with Commerce and CBP personnel. SUF 27. But Plaintiff’s
                     24   president, Glenn Sanders, conceded that he never disclosed this view in any of his
                     25   many conversations with the Ruebens family. SUF 27. Indeed, Plaintiff did not
                     26   send Vandewater a cease-and-desist letter, petition Commerce for a ruling as to the
                     27   4
                           The only other, to the undersigned’s knowledge, is Anvil International, LLC,
                     28
                          another domestic manufacturer, which recently took this position in opposition to
                          Vandewater’s scope ruling request. See Salzman Decl. ¶ 2, Ex. 1.
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                      1   scope of the China Order, or initiate any other manner of public proceeding to
                      2   attempt to establish that welded outlets from China were subject to antidumping
                      3   duties. Ruebens Decl. ¶ 9. Rather, Plaintiff seemed determined to contemplate and
                      4   pursue potential remedies in secret, lest it “alert” Vandewater and the other
                      5   importers of its contentions. Certainly, Vandewater received no notice from
                      6   Plaintiff of its expansive view of the China Order.
                      7          That leaves Hank Zawada, Vandewater’s former sales representative, who is
                      8   referenced in the First Amended Complaint as “Confidential Source 1.” SUF 29. In
                      9   sharp contrast to the way he is portrayed in the FAC, at his deposition Mr. Zawada
                     10   was flummoxed by the notion that he was the “confidential source” behind this
                     11   lawsuit.5 SUF 30. Hank Zawada disclaimed any knowledge or belief that
                     12   antidumping duties applied to Chinese welded outlets. SUF 20, 21. No one ever
                     13   told him as much. SUF 31. No one ever told Neil Ruebens as much in Hank
                     14   Zawada’s presence. SUF 31. No one ever told Hank Zawada that they informed
                     15   Neil Ruebens that Chinese welded outlets were subject to antidumping duties. SUF
                     16   31. Mr. Zawada never heard Neil Ruebens or Skip Perkins6 or anyone else
                     17   associated with Vandewater ever profess a belief that welded outlets were subject to
                     18   antidumping duties. SUF 31. Indeed, Mr. Zawada had never heard of, or discussed
                     19   with Skip Perkins, the Sprink Ruling on which Plaintiff so heavily relies. Id. at
                     20   65:1–66:1. This, again, is not particularly surprising, since the ruling concerned
                     21   Taiwan, supra at 3–4, a country from which none of the parties in this case appear
                     22   5
                           Hank Zawada admitted that he provided Vandewater’s cost information and
                     23
                          business records to Plaintiff’s president, Glenn Sanders, in 2013, after Mr.
                          Zawada’s relationship with Vandewater terminated. However, Mr. Zawada had no
                     24
                          “expectation that Island was going to use it in a lawsuit against importers of welded
                          outlets[.]” Salzman Decl. ¶ 6, Ex. 5 (Zawada Deposition Tr.) at 60: 21-25. Glenn
                     25
                          Sanders confirmed that he elicited this information from Mr. Zawada not to bring a
                          False Claims Act suit—for he did not contemplate bringing any kind of litigation
                     26
                          until years later—but rather so that he could use this information commercially, to
                          compete with Vandewater and other importers. Salzman Decl. ¶ 4, Ex. 3 (Sanders
                     27
                          Deposition Tr.) at 567:11-568:2, 574:7-580:15.
                          6
                     28
                           Skip Perkins was another Vandewater sales representative. He passed away in
                          2013. See Salzman Decl. ¶ 6, Ex. 5 (Zawada Deposition Tr.) at 40:6-17.
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                      1   ever to have imported pipe fittings. In all events, Hank Zawada never gave
                      2   Vandewater notice of Plaintiff’s expansive interpretation of the China Order.
                      3                 2.     Plaintiff Does Not—and Cannot—Offer Evidence from
                      4                        which a Reasonable Fact-Finder Could Conclude that the
                      5                        Vandewater Defendants Acted in Deliberate Ignorance or
                      6                        Reckless Disregard as to the Truth of their Statements.
                      7          To establish that the Vandewater Defendants acted in “deliberate ignorance,”
                      8   Plaintiff would have to show that they “failed to make simple inquiries which
                      9   would alert [them] that false [statements] are being submitted.” United States v.
                     10   United Healthcare Ins. Co., 848 F.3d 1161, 1174 (9th Cir. 2016) (quoting S. Rep.
                     11   No. 99-345 at 21 (1986)). Query, though, in this case, what inquiry exactly would
                     12   have led Defendants to conclude that the China Order covered welded outlets?
                     13          Plaintiff has long suggested that there were missed “red flags”—that if only
                     14   Defendants had done sufficient diligence to uncover them, then they would have
                     15   known that their welded outlets were subject to ADDs. See FAC ¶ 76 (ECF 97).
                     16   However, when given the opportunity to identify these “red flags,” Plaintiff’s
                     17   proffered import compliance expert, Kelli Thompson, could name not a single one.
                     18   SUF 32 (further, there is nothing predating Commerce’s 2018 response to
                     19   Vandewater’s scope ruling request that Ms. Thompson can identify as a basis for
                     20   concluding that ADDs apply). Indeed, although she claims to have extensive
                     21   experience as an import professional construing ADD orders, and though she
                     22   reviewed a voluminous (if one-sided) set of background materials on this case, Ms.
                     23   Thompson declined even to say whether welded outlets are properly within the
                     24   scope of the China Order. SUF 32. She professed to have great difficulty
                     25   interpreting the China Order, (SUF 33)—which is understandable to a point,
                     26   because at least as Commerce read it, supra at 4, the scope language is ambiguous.
                     27   See Salzman Decl. ¶ 2, Ex. 1 at 11.
                     28          This is the reason why the Ninth Circuit has held that “a good faith
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                      1   interpretation of a regulation is not subject to [FCA] liability.” U.S. ex rel. Oliver v.
                      2   Parsons Co., 195 F.3d 457, 464 (9th Cir. 1999); see also U.S. ex rel. McGrath v.
                      3   Microsemi Corp., 690 F. App’x 551, 552 (9th Cir. 2017)(FCA complaint “cannot
                      4   establish [] scienter as a matter of law” in the context of a defendant’s reasonable
                      5   interpretation of the law). It is not the correctness of the interpretation per se, or the
                      6   ultimate validation of the proffered interpretation, that protects a defendant from
                      7   liability under the FCA; rather, it is the good faith reflected in a reasonable
                      8   assessment of legal obligation that forecloses the necessary mental state. See
                      9   Parsons, 195 F.3d at 464; U.S. ex rel. Lockyer v. Hawaii Pac. Health Grp. Plan for
                     10   Employees of Hawaii Pac. Health, 343 F. App'x 279, 281 (9th Cir. 2009).
                     11          As the U.S. Supreme Court confirmed, even “reckless disregard” is
                     12   impossible to establish in such circumstances. Where the relevant law “allow[s] for
                     13   more than one reasonable interpretation, it would defy history and current thinking
                     14   to treat a defendant who merely adopts one such interpretation as a knowing or
                     15   reckless violator.” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 70 n.20 (2007); see
                     16   also Gonzalez v. Planned Parenthood of Los Angeles, 759 F.3d 1112, 1115 (9th
                     17   Cir. 2014)(“differences in interpretations are not false certifications under the [False
                     18   Claims] Act”). For all of the reasons detailed above, the Vandewater Defendants’
                     19   interpretation of the China Order is, if not the correct interpretation, then certainly a
                     20   reasonable one. And it is this good faith, reasonable interpretation—which every
                     21   other importer shared, and which every Defendant continues to advance in CIT
                     22   litigation—that precludes a finding of recklessness. Williams, 696 F.3d at 518, 530–
                     23   31 (“[t]o deem such behavior ‘reckless disregard’…imposes a burden…far higher
                     24   than what Congress intended when it passed [the FCA]”).
                     25

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                      1                 3.     Vandewater’s Retention of an Import Broker, its Full and
                      2                        Transparent Interactions with its Broker, and its Outreach
                      3                        to CBP All Underscore the Vandewater Defendants’ Evident
                      4                        Good Faith.
                      5          Plaintiff alleges a decades-long scheme whereby Vandewater “knowingly
                      6   and intentionally evaded and avoided… substantial antidumping duties[.]” FAC ¶ 4
                      7   (ECF 97). How peculiar, then, that Vandewater hired a licensed import broker to
                      8   prepare its product entry documentation—and, undisputedly, shared with that
                      9   broker all of the details of its importation, including the full panoply of backup
                     10   documentation (commercial invoices, bills of lading, etc.) that describes
                     11   Vandewater’s products and traces them from factory to port-of-entry. In fact, as
                     12   noted above, Vandewater consulted multiple brokers, and it contacted CBP
                     13   personnel before it began importing welded outlets from China. Not a single one of
                     14   these individuals raised any issue or concern regarding antidumping duties. SUF 8–
                     15   11. Vandewater’s outreach to and collaboration with importation specialists render
                     16   implausible Plaintiff’s allegations of customs duty evasion.
                     17          Plaintiff’s proffered compliance expert (herself a licensed import broker)
                     18   explained the quintessential functions of a broker: to “facilitate and provide
                     19   guidance [on] rules and regulations to importers” who are bringing product into the
                     20   United States. SUF 35. Licensed import brokers are experts in their field, screened
                     21   through a selective customs brokers exam. SUF 35. They provide guidance to
                     22   importers on a range of topics, including “[product] classification” and applicable
                     23   “rates of duty.” SUF 35. They are trained and expected to raise issues with clients
                     24   when there “may seem to be a misclassification [of a product]” or when “they feel
                     25   that an inappropriate duty amount is being reported[.]” SUF 36.
                     26          When a government contractor or regulated entity hires such professional
                     27   advisors, provides them with necessary information, and follows their advice, this is
                     28   recognized, powerful evidence of good faith—an integral piece of a body of proof
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                      1   that precludes False Claims Act liability. See, e.g., U.S. ex rel. Heffner v.
                      2   Hackensack Univ. Med. Ctr., 495 F.3d 103, 110 (3d Cir. 2007) (defendant’s “lack
                      3   of recklessness is also demonstrated, at least indirectly, by its hiring [a consultant]
                      4   to help it improve its compliance”); Williams, 696 F.3d at 531 (“a defendant is not
                      5   reckless when, in the face of ambiguous regulations, [it] follows industry practice,
                      6   consults and relies on advice of counsel, and was forthright with the government
                      7   about its conduct”); U.S. ex rel. Kirk v. Schindler Elevator Corp., 130 F. Supp. 3d
                      8   866, 875 (S.D.N.Y. 2015) (granting summary judgment for defendant where
                      9   defendant hired compliance consultant). Likewise, “[t]he government’s knowledge
                     10   and acquiescence in [the defendant’s] actions is highly relevant to show that [the
                     11   defendant] did not [make statements] in deliberate ignorance or reckless disregard
                     12   of their truth or falsity.” Kirk, 130 F. Supp. 3d at 880 (citing United States v.
                     13   Southland Mgmt. Corp., 326 F.3d 669, 682 (5th Cir. 2003)(alterations omitted);
                     14   accord Williams, 696 F.3d at 531.
                     15          Before Vandewater began importing welded outlets, Neil Ruebens consulted
                     16   with CBP import specialists Paula Ilardi and April Avalone about the product. SUF
                     17   10. Mr. Ruebens also spoke with Elena Torrey of New York-based broker Charles
                     18   Happel & Co. to determine the proper HTS code for these products. SUF 8. Mr.
                     19   Ruebens believes that he asked Happel whether the welded outlets were subject to
                     20   antidumping duties. SUF 10; Salzman Decl. ¶ 5, Ex 4 at 102:1–10 (“You know, we
                     21   always want to know that before we brought in a new product.”). In all events,
                     22   neither the CBP nor the Happel brokerage firm raised any issues or concern that
                     23   these products might be subject to the 1992 China Order. SUF 12.
                     24          When Vandewater actually began importing welded outlets, it worked with
                     25   Atlanta-based brokers at ACE. Supra at 2; SUF 11. It is clear from Vandewater’s
                     26   extensive correspondence with ACE over the years that ACE personnel understood
                     27   what Vandewater’s products were and where they came from. SUF 11. Vandewater
                     28   sent ACE comprehensive documentation for its welded outlets imports, which ACE
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                      1   in turn made available for CBP inspection. SUF 11. Yet no one at ACE raised the
                      2   China Order with Vandewater either. SUF 12. Neither did any of the CBP
                      3   personnel who processed and inspected Vandewater’s shipments over the years.
                      4   SUF 12.
                      5          Of course, the reason why neither CBP pipe fitting import specialists nor any
                      6   of the above brokers raised the China Order is because the order applies to “butt-
                      7   weld pipe fittings,” whereas Vandewater was importing welded outlets; and the two
                      8   types of products are clearly distinct, as evident from their respective physical
                      9   attributes, industry standards, trade usage, and tariff classifications. Supra at 3. But
                     10   in all events, the involvement of all of these import professionals, and their
                     11   agreement in Vandewater’s product classifications and duty position, further
                     12   evidence Vandewater’s good faith and decisively belie Plaintiff’s allegations of
                     13   duty evasion.
                     14          C.     There is No Viable Claim for Damages, Because No Duties may be
                     15                 Imposed Predating the Vandewater Scope Ruling.
                     16          As discussed above, in accepting Vandewater’s scope ruling request and
                     17   adjudicating the request under subsection (k)(1) of the scope rulings regulation,
                     18   Commerce concluded that “the scope language [of the China Order] is ambiguous,”
                     19   and that further analysis would have to ensue to determine “whether the product in
                     20   question is covered by the order.” 7 Salzman Decl. ¶ 2, Ex. 1 at 3. In such situations,
                     21   Commerce’s regulation bars the government from imposing duties predating the
                     22   scope ruling. This rule in and of itself precludes any judgment in favor of Plaintiff.
                     23          In the federal importation rules, “the final computation or ascertainment of
                     24   duties on entries” of merchandise is referred to as “liquidation”. 19 C.F.R. § 159.1.
                     25   Merchandise must typically be “liquidated” by CBP—i.e., duties must typically be
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                            By contrast, summarizing what is colloquially referred to as a “k(0)” analysis,
                          Commerce noted that where it is “able to determine whether the product in question
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                          falls within or outside the scope based solely on the language of the order, the
                          unambiguous language of the scope governs.” Salzman Decl. ¶ 2, Ex. 1 at 3.
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                      1   assessed—within one year of entry. 19 C.F.R. §§ 159.2, 159.11. Commerce may
                      2   direct CBP to suspend this liquidation process in certain circumstances.
                      3   Nevertheless, in the context of a scope determination, Commerce has limited
                      4   prospective authority. 19 C.F.R.§ 351.225(l)(3). Specifically, where liquidation has
                      5   not otherwise been suspended, and Commerce issues a scope ruling under
                      6   subsection (k)(1) of the scope rulings regulation, the regulation is clear that “the
                      7   Secretary will instruct the Customs Service to suspend liquidation…on or after the
                      8   date of initiation of the scope inquiry.” Id. (emphasis added). Thus, at the earliest,
                      9   Commerce may reserve the government’s rights to assess duties as of Vandewater’s
                     10   scope ruling. September 10, 2018. See Salzman Decl. ¶ 2, Ex. 1 at 1.
                     11          The U.S. Court of Appeals for the Federal Circuit recently confirmed that
                     12   Commerce exceeds its regulatory authority where it directs that liquidations be
                     13   suspended “retroactively,” so as to potentially impose duties prior to this date.
                     14   United Steel & Fasteners, Inc. v. United States, 947 F.3d 794, 801 (Fed. Cir. 2020).
                     15   In United Steel and Fasteners, the Federal Circuit specifically rejected Commerce’s
                     16   argument that “a scope ruling… merely ‘confirm[s]’ the scope of an antidumping
                     17   duty order,” such that liquidation may be suspended back to the date of the ADD
                     18   order itself. Id. at 802–03. Rather, in interpreting 19 CFR § 351.225(l) in the
                     19   context of a (k)(1) scope determination, the Federal Circuit held that Commerce’s
                     20   scope determination was effective as of the date when Commerce issued the final
                     21   scope ruling (Commerce issued its final scope ruling in this case without initiating a
                     22   formal scope inquiry). The Court noted that suspension of liquidation of the entries
                     23   in question had not occurred prior to that time and explained that “[w]hen
                     24   liquidation has not been suspended, Customs, and perhaps the Department as well,
                     25   have viewed the merchandise as not being within the scope of an order, importers
                     26   are justified in relying upon that view, at least until the Department rules
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                      1   otherwise.”8 Id. at 803.
                      2          Just as in United Steel and Fasteners, Commerce issued its final ruling in this
                      3   case without initiating a formal subsection (k)(2) scope inquiry. Because
                      4   Vandewater did not import welded outlets from China subsequent to the September
                      5   10, 2018 ruling date (SUF 25), Vandewater owes no importation duties to the
                      6   government. As such, there can be no FCA claim. See supra at 5–6; U.S. ex rel.
                      7   Barrick v. Parker-Migliorini Int’l, LLC, 878 F.3d 1224, 1232 (10th Cir. 2017) (“in
                      8   order to create liability, the obligation must be formally established at the time of
                      9   the improper conduct” alleged). Accordingly, in addition to all of the other reasons
                     10   why Plaintiff’s claims fail, they are barred by 19 C.F.R. § 351.225(l)(3).
                     11          D.     All Remaining Allegations by Plaintiff Have Been Disproved and
                     12                 are Immaterial.
                     13          The First Amended Complaint is littered with oblique aspersions, which after
                     14   discovery, are clearly not significant enough to affect the outcome of this litigation.
                     15   See Anderson, 477 U.S. at 248 (a fact is “material” when its resolution might affect
                     16   the outcome of the suit under the governing law, and is determined by looking to
                     17   the substantive law). These peripheral allegations are immaterial, in part, because
                     18   they have no bearing on antidumping duties allegedly due and owing to the
                     19   government. Cafasso, 637 F.3d at 1056. Irrelevant factual disputes are not to be
                     20   considered as a barrier to summary judgment. Anderson, 477 U.S. at 249. Further,
                     21   the allegations, which are addressed in turn below, lack any factual support in the
                     22   evidentiary record, and, instead, appear to have been included solely in an effort to
                     23   muddy further the issues before the Court.
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                            As the Federal Circuit notes, there is no risk of gamesmanship in this rule, because
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                          “Commerce always retains the authority to self-initiate a scope inquiry and, thus, it
                          is not bound by the timing of the importer’s scope ruling request to determine
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                          whether a product is in scope.” United Steel and Fasteners, 947 F.3d at 803 (citing
                          19 C.F.R. § 351.225(b)).
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                      1                 1.     Vandewater Did Not Misuse Tariff Codes for “Parts and
                      2                        Accessories for Motor Vehicles.”
                      3          The FAC alleges that the Vandewater Defendants imported from China “at
                      4   least five shipments of ‘U-L FM Approved Steel Pipe-O-Lets’” intentionally
                      5   classifying the product using Harmonized Tariff Schedule Code (“HTS”) numbers
                      6   for “Parts and Accessories for Motor Vehicles.” FAC ¶ 36(a) (ECF 97). The
                      7   evidentiary record in the case, however, fails to support that the Vandewater
                      8   Defendants engaged in any such conduct.
                      9          Despite deposing three Vandewater employees over three separate days,
                     10   Plaintiff failed to discuss this subject matter, much less elicit any evidence
                     11   supporting its contention. Indeed, the sole reference in the testimonial record to
                     12   such purported conduct is found in the deposition of Plaintiff’s president, Glenn
                     13   Sanders, who testified that he “[did not] know how many times” the alleged
                     14   conduct occurred when questioned by Vandewater’s counsel. SUF 38. Neil
                     15   Ruebens surmises that automotive HTS codes might have been erroneously input
                     16   into some bills of lading by one of the Chinese manufacturers of Vandewater’s
                     17   welded outlets, Hiron (as Hiron also manufactures hydraulic fittings for
                     18   automobiles), but Mr. Ruebens believes these were isolated occurrences. SUF 38.
                     19   In all events, Vandewater has only so much control over what Hiron personnel
                     20   input on these documents. SUF 38. There is no evidence that any welded outlets
                     21   were mis-described as auto parts on entry forms that Vandewater and its brokers
                     22   prepared or submitted to CBP.
                     23                 2.     Vandewater Did Not Falsely Claim That Its Imports Were
                     24                        From South Korea.
                     25          Plaintiff further alleges that the Vandewater Defendants “transshipped” their
                     26   grooved outlets, i.e., that they falsely claimed their imported grooved outlets were
                     27   manufactured in South Korea, rather than their true country of origin, China. FAC ¶
                     28   36(c) (ECF 97). This theory, similarly, finds zero support in the evidentiary record.
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                      1          Plaintiff bases this assertion on reports generated by trade data aggregator
                      2   Import Genius. SUF 39. In his deposition, however, Plaintiff’s president conceded
                      3   that Import Genius reports may indicate shipments from South Korea in instances
                      4   where a container ships from China and stops in South Korea en route to the United
                      5   States. SUF 39. As reflected in the various customs entry forms produced to
                      6   Plaintiff in discovery—which each declare China as country of origin—the
                      7   Vandewater Defendants have never imported welded outlets from South Korea, or
                      8   declared South Korea as the country of origin for these products. SUF 39. Without
                      9   any evidentiary underpinning, the transshipment allegations in the First Amended
                     10   Complaint cannot stand, and they should be disregarded.
                     11                 3.     Vandewater Has Never Imported Blank Welded Outlets.
                     12          Finally, Plaintiff contends that the Vandewater Defendants imported Chinese
                     13   welded outlet blanks without appropriate markings, while failing to pay purported
                     14   antidumping duties on the same. See FAC ¶ 36(d) (ECF 97). This assertion is
                     15   similarly false as the Vandewater Defendants have never imported Chinese welded
                     16   outlet blanks, and no admissible evidence in the record supports a contrary
                     17   conclusion.9 SUF 40. As the burden of proof rests with Plaintiff at trial, the
                     18   Vandewater Defendants need not prove the negative in moving for summary
                     19   judgment. See Devereaux v. Abbey, 263 F.3d 1070, 1076 (9th Cir. 2001) (“When
                     20   the nonmoving party has the burden of proof at trial, the moving party need only
                     21   point out ‘that there is an absence of evidence to support the nonmoving party's
                     22   case.’”) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)); see also
                     23   Gonzalez v. Ford Motor Co., No. LA CV 1900652, 2019 WL 6122554, at *2 (C.D.
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                            Plaintiff further alleges that Vandewater imported Chinese welded outlets while
                          falsely describing the same as “BLK Steel Coupling Blanks,” products which it
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                          never advertised (and which are not subject to an antidumping duty). See FAC ¶
                          36(d) (ECF 97). These blank coupling imports, however, were accurately described
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                          on entry forms. This product was imported solely for Vandewater customer JP
                          Ward, who then threaded the coupling for its resale. Salzman Decl. ¶ 5, Ex. 4 (N.
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                          Ruebens Deposition Tr.) at 58:13-59:11; Salzman Decl. ¶ 8, Ex. 7 (J. Ruebens
                          Deposition Tr.) at 26:15-27:18. Accordingly, Plaintiff’s allegation cannot stand.
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                      1   Cal. Oct. 23, 2019) (“The moving party has no burden to negate or disprove matters
                      2   on which the opponent will have the burden of proof at trial.”). As Plaintiff is
                      3   unable to carry its burden, its allegation in the FAC should be disregarded.
                      4   V.     CONCLUSION
                      5          For the foregoing reasons, Vandewater International, Inc. and Neil Ruebens
                      6   respectfully request that the Court grant summary judgment in their favor and
                      7   against Plaintiff-Relator Island Industries, Inc. for all claims made in this litigation.
                      8

                      9   Dated: April 8, 2020                         FAEGRE DRINKER BIDDLE & REATH LLP
                     10

                     11                                                By: /s/ Ryan M. Salzman
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                                                                       VANDEWATER INTERNATIONAL,
                     15                                                INC. and NEIL RUEBENS
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                      1                              CERTIFICATE OF SERVICE
                      2          I am over eighteen years of age and not a party to this action. I am a member
                          of the California Bar. My business address is 1800 Century Park East, Suite 1500,
                      3   Los Angeles, CA 90067. On April 8, 2020, I caused the above document, described
                          as Vandewater Defendants’ Notice of Motion and Motion for Summary
                      4   Judgment; Memorandum of Points and Authorities, to be served on the interested
                          parties in this action by electronically mailing it to the email addresses set forth
                      5   below.
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